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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                              NORTHERN DIVISION
                                  AT ASHLAND

CRIMINAL ACTION NO. 09-13-DLB-3

UNITED STATES OF AMERICA                                                        PLAINTIFF


vs.              ORDER ADOPTING REPORT & RECOMMENDATION


YVETTE LYNN DUNN                                                             DEFENDANT

                                     *** *** *** ***

       This matter is before the Court upon the June 8, 2012 Report and Recommendation

(“R&R”) of the United States Magistrate Judge wherein he recommends that the Court

revoke Defendant’s supervised release and impose a sentence of six (6) weekends of

incarceration, with the remaining balance of her supervised release to follow. (Doc. # 173).

During the final revocation hearing conducted by Magistrate Judge Atkins on June 5, 2012,

Defendant stipulated to Violations 1 and 3 as set out in the March 3, 2012 violation report

of United States Probation Officer Allison Biggs. (Docs. # 154, 173). The United States

moved to dismiss Violation 2, and the Magistrate Judge recommended that the

government’s motion be granted. (Doc. # 173).

       Defendant having executed a waiver of his right to allocution (Doc. # 171), there

being no objections filed to the Magistrate Judge’s R&R, and the time to do so having now

expired, the R&R is ripe for the Court’s consideration. Having reviewed the R&R, and the

Court concluding that the R&R is sound in all respects, including the recommended

sentence and the basis for said recommendation, and the Court being otherwise sufficiently


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advised,

       IT IS ORDERED as follows:

       1.     The Report and Recommendation (Doc. # 173) is hereby ADOPTED as the

              findings of fact and conclusions of law of the Court;

       2.     Defendant is found to have VIOLATED the terms of his supervised release;

       3.     Defendant’s supervised release is hereby REVOKED;

       4.     Defendant shall serve SIX (6) WEEKENDS of incarceration, to begin at 6:00

              p.m. on Friday and end at 6:00 p.m. on Sunday, at a facility directed by the

              Bureau of Prisons. Upon completion of her incarceration, Defendant shall

              resume the balance of her term of supervised release; and

       5.     A Judgment shall be entered contemporaneously herewith.

       This 5th day of July, 2012.




G:\DATA\ORDERS\Ashland Criminal\2009\09-13-3 Order adopting R&R.wpd




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